Case 1:22-cv-03149-SKC Document 10 Filed 12/07/22 USDC Colorado Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No.       1:22-CV-03149-SKC

 SHIRLEY MARFIL

        Plaintiff,

 v.

 NOKIA INNOVATIONS US LLC

        Defendant.

                     MOTION FOR EXTENSION OF TIME
      TO FILE RESPONSIVE PLEADING ON BEHALF OF NOKIA INNOVATIONS

       Defendant, Nokia Innovations US LLC (sued herein as “Nokia Innovations” and

hereinafter referred to as “Nokia Innovations”), by and through undersigned counsel, and pursuant

to Fed. R. Civ. P. 6 and D. Colo.L.Civ.R. 6.1, moves for an extension of time to file a responsive

pleading, and states as follows:

                              CERTIFICATE OF CONFERRAL

       The undersigned certifies on December 6, 2022, she conferred with Plaintiff via telephone

call regarding this motion. Plaintiff opposes Nokia Innovations’ request for an extension of time

to file a responsive pleading up to and including January 12, 2023.

1.     On or about November 4, 2022, Shirley Marfil (“Plaintiff”), acting pro se, initiated an

       action (“Claim”) in the Smalls Claims division of the Denver County Court, Case No.

       22S00750.

2.     Plaintiff “seeks a judgment [sic] to enforce a contract of specific performance of the

       defendant. Specifically, plaintiff asks to move the defendant to process an appeal of a claim
Case 1:22-cv-03149-SKC Document 10 Filed 12/07/22 USDC Colorado Page 2 of 4




     for [pension] plan and saving plan benefits held by the defendant.” (Doc. 2, Ex. 1 at 1.)

     The pension plan and saving plan (i.e. 401(k) plan) (collectively, the “Plans”) appeals

     Plaintiff seeks to enforce are under ERISA-governed plans seeking ERISA-regulated

     benefits. (See Doc. 2, Exs. 2–5.)

3.   Nokia Innovations was served with Plaintiff’s Claim on November 7, 2022, and removed

     this case to federal court on December 6, 2022, making December 13, 2022 its responsive

     pleading deadline. (See Fed. R. Civ. 81.)

4.   Plaintiff has not exhausted the Plans’ administrative review procedures, and Nokia

     Innovations intends to file a motion to dismiss on this basis, among others. See Held v.

     Mfrs. Hanover Leasing Corp., 912 F.2d 1197, 1206 (10th Cir. 1990) (“[E]xhaustion of [an

     ERISA plan’s] administrative (i.e., company- or plan-provided) remedies is an implicit

     prerequisite to seeking judicial relief.”)

5.   Nokia Innovations requests up to and including January 12, 2023, to file its responsive

     pleading.

6.   Nokia Innovations’ requested 30-day extension will allow sufficient time for Nokia

     Innovations to prepare its responsive pleading. This matter is in its infancy, and granting

     this extension will not cause the parties or the Court undue delay or expense.

7.   No party has yet sought an extension or continuance in this matter at any stage.

8.   The undersigned affirms that a copy of this Motion was served on her client, Nokia

     Innovations.




                                                  2
Case 1:22-cv-03149-SKC Document 10 Filed 12/07/22 USDC Colorado Page 3 of 4




       WHEREFORE, Defendant Nokia Innovations respectfully requests the Court extend the

deadline for a responsive pleading until and including January 12, 2023, and grant any other relief

the Court deems appropriate.

       DATED this 7th of December, 2022.

                                             /s/Ashley L. Zurkan __________________________
                                             Ashley L. Zurkan
                                             NATHAN DUMM & MAYER P. C.
                                             7900 E. Union Avenue, Suite 600
                                             Denver, CO 80237-2776
                                             Telephone: (303) 691-3737
                                             Facsimile: (303) 757-5106

                                             ALSTON & BIRD LLP
                                             R. Blake Crohan (application for admission
                                             pending)
                                             Georgia Bar Number 512642
                                             Margaret E. Studdard (application for admission
                                             pending)
                                             Georgia Bar Number 356265
                                             1201 West Peachtree Street
                                             Atlanta, GA 30309
                                             (404) 881-7000
                                             (404) 881-7777 (fax)
                                             Blake.crohan@alston.com
                                             Ellie.studdard@alston.com
                                             Attorneys for Nokia Innovations US LLC




                                                3
Case 1:22-cv-03149-SKC Document 10 Filed 12/07/22 USDC Colorado Page 4 of 4




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of December, 2022 a true and correct copy of the
foregoing MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADING
was electronically filed with the Clerk of the Court using the CM/ECF system

     I hereby certify that I have mailed a true and complete copy to the following non
CM/ECF participants by placing them in the United States Mail:

Shirley Marfil
7949 York Street Apt. 1
Denver, Colorado



       .

                                            /s/ Ashley L. Zurkan _________________________
                                            Ashley L. Zurkan
                                            Attorney for Defendant
                                            NATHAN DUMM & MAYER P.C.
                                            7900 E. Union Avenue, Suite 600
                                            Denver, CO 80237-2776
                                            Telephone: (303) 691-3737
                                            Facsimile: (303) 757-5106
                                            AZurkan@ndm-law.com




                                               4
